Action in claim and delivery to recover possession of a horse sold by one Martin Mickelson to the defendant. Plaintiff claims title under the contract involved in the case of John Southall v. Martin Mickelson, just decided by this court, ante, 191,277 N.W. 601. Upon the trial in District Court the two cases were consolidated but separate judgments were entered. The animal in this case is involved in the accounting action of Southall versus Mickelson, and, since it was there held that Mr. Mickelson was the owner of the horses described, the decision in that case is decisive of this.
Judgment of the District Court should be affirmed.
CHRISTIANSON, Ch. J., and NUESSLE and BURR, JJ., and MILLER and JANSONIUS, Dist. JJ., concur.
MORRIS, J., disqualified, and BURKE, J., being detained by illness, did not participate, Hon. HARVEY J. MILLER, Judge of Sixth Judicial District, and Hon. FRED JANSONIUS, Judge of Fourth Judicial District, sitting in their stead. *Page 198 